  AO 245 B     (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Northern District of Iowa
                                                                                     )
                    UNITED STATES OF AMERICA                                         ) JUDGMENT IN A CRIMINAL CASE
                               v.                                                    )
                                                                                     )
                        SARAH MAJID ZEAITER                                          ) Case Number:     0862 1:15CR00054-004
                                                                                     ) USM Number: 13993-029
                                                                                     )
                                                                                     ) Brian D. Johnson
                                                                                       Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)        45, 46, and 47 of the Second Superseding Indictment filed on December 9, 2015
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                           Offense Ended           Count
18 U.S.C. § 371                   Conspiracy to Deal in Firearms Without a License, Ship                      05/12/2015               45
                                  and Transport Firearms and Ammunition in Interstate
                                  Commerce, Make False Statements to Licensed Firearms
                                  Dealers, Fail to Give Notice to Common Carriers, and
                                  Violation of the Arms Export Control Act

18 U.S.C. § 1956(h)               Conspiracy to Commit Money Laundering                                       05/12/2015                46

22 U.S.C. § 2778;                 Violate the Arms Export Control Act                                         March 2015                47
18 U.S.C. § 2; and
22 C.F.R. §§ 121.1,
123.1, and 127.1

       The defendant is sentenced as provided in pages 2 through                6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
                1, 2, 3, and 48 of the Second Superseding
    Count(s)                                                                    is            are dismissed on the motion of the United States.
                Indictment

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                         October 14, 2016
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge



                                                                         Linda R. Reade
                                                                         Chief U.S. District Court Judge
                                                                         Name and Title of Judge

                                                                          October 17, 2016
                                                                         Date
                  Case 1:15-cr-00054-LRR-MAR                     Document 220                 Filed 10/18/16         Page 1 of 6
AO 245 B     (Rev. 09/11) Judgment in a Criminal Case
             Sheet 2 – Imprisonment
                                                                                                          Judgment — Page   2       of   6
DEFENDANT:                      SARAH MAJID ZEAITER
CASE NUMBER:                    0862 1:15CR00054-004


                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
       87 months. This term of imprisonment consists of a 60-month term imposed on Count 45, an 87-month term imposed on
       Count 46, and an 87-month term imposed on Count 47 of the Second Superseding Indictment, to be served concurrently.




           The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be designated to a Bureau of Prisons facility that administers the Instiutional Hearing Program.




           The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
               at                                         a.m.         p.m.       on                                            .
               as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on                                               .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                            to
at                                                      , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL



                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL


                Case 1:15-cr-00054-LRR-MAR                        Document 220             Filed 10/18/16        Page 2 of 6
AO 245 B    (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3 – Supervised Release
                                                                                                        Judgment—Page         3   of         6
DEFENDANT:                    SARAH MAJID ZEAITER
CASE NUMBER:                  0862 1:15CR00054-004

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years. This term of supervised release
consists of a 3-year term imposed on each of Counts 45, 46, and 47 of the Second Superseding Indictment, to be served
concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
 The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification requirement.



               Case 1:15-cr-00054-LRR-MAR                     Document 220             Filed 10/18/16          Page 3 of 6
AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3C — Supervised Release                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                              Judgment—Page           4       of         6
DEFENDANT:                  SARAH MAJID ZEAITER
CASE NUMBER:                0862 1:15CR00054-004
                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

  1) If not employed at a regular lawful occupation, as deemed appropriate by the United States Probation Office, the defendant
     must participate in employment workshops and report, as directed, to the United States Probation Office to provide
     verification of daily job search results or other employment related activities. In the event the defendant fails to secure
     employment, participate in the employment workshops or provide verification of daily job search results, the defendant may
     be required to perform up to 20 hours of community service per week until employed.

  2) The defendant must submit to a search of the defendant's person, residence, adjacent structures, office or vehicle, conducted
     by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
     contraband or evidence of a violation of a condition of release. Failure to submit to a search may be grounds for revocation.
     The defendant must warn any other residents that the residence or vehicle may be subject to searches pursuant to this
     condition. This condition may be invoked with or without the assistance of law enforcement, including the United States
     Marshals Service.

  3) If the defendant is removed or deported from the United States, the defendant must not reenter unless the defendant obtains
     permission from the Secretary of Homeland Security. If the defendant is removed or deported from the United States, the
     defendant will not be on active supervision. If the defendant reenters the United States during the term of supervised release,
     the defendant must report to the nearest United States Probation Office within 72 hours of the date the defendant reenters
     the United States. If the defendant remains in the United States during the term of supervised release, the defendant must
     report to the United States Probation Office in the district to which the defendant is released within 72 hours of release from
     custody.

Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of supervision;
and/or (3) modify the condition of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



       Defendant                                                                                               Date



       U.S. Probation Officer/Designated Witness                                                               Date




              Case 1:15-cr-00054-LRR-MAR                   Document 220           Filed 10/18/16           Page 4 of 6
AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 – Criminal Monetary Penalties

                                                                                                      Judgment — Page    5       of       6
DEFENDANT:                         SARAH MAJID ZEAITER
CASE NUMBER:                       0862 1:15CR00054-004

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                                   Restitution
TOTALS             $ 300 (paid)                                      $ 0                                   $ 0

     The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

Name of Payee                                         Total Loss*                     Restitution Ordered               Priority or Percentage




TOTALS                                $                                     $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the          fine            restitution.

           the interest requirement for the           fine          restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.



              Case 1:15-cr-00054-LRR-MAR                      Document 220                    Filed 10/18/16      Page 5 of 6
AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 – Criminal Monetary Penalties
                                                                                                             Judgment—Page         6        of        6
DEFENDANT:                  SARAH MAJID ZEAITER
CASE NUMBER:                0862 1:15CR00054-004

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A          Lump sum payment of $                      300      due immediately, balance due

                 not later than                                     , or
                 in accordance with                    C,        D,               E, or           F below; or

B          Payment to begin immediately (may be combined with                          C          D, or            F below); or

C          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           The $300 special assessment was paid on June 28, 2016, receipt #IAN110018256.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:
      As set forth in the Preliminary Order of Forfeiture filed on July 28, 2016, Document No. 156 (which the Court orally made a
      Final Order of Forfeiture on October 14, 2016).
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


              Case 1:15-cr-00054-LRR-MAR                         Document 220               Filed 10/18/16            Page 6 of 6
